       Case: 1:19-cv-02927 Document #: 1 Filed: 05/01/19 Page 1 of 8 PageID #:1



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
Hunter Killer Productions, Inc.,                    )
                                                    )
      Plaintiff,                                    ) Case No.: 19-cv-2927
                                                    )
v.                                                  )
                                                    ) Judge
Does 1-17,                                          )
                                                    )
       Defendants.                                  )

                      COMPLAINT FOR COPYRIGHT INFRINGEMENT

       Hunter Killer Productions, Inc., by and through its undersigned counsel, for and as its

Complaint against Defendants, alleges as follows:

                                 JURISDICTION AND VENUE

       1.      This is a civil action seeking damages and injunctive relief for copyright infringement

under the copyright laws of the United States (17 U.S.C. §101 et seq.). As set forth in greater detail

below, this action involves the unauthorized acquisition, copying and transfer by Defendants of

Plaintiff’s mainstream copyrighted motion picture Hunter Killer (hereinafter, “the Motion Picture” or

“Hunter Killer”).

       2.      Hunter Killer is an action, thriller movie directed by Donovan Marsh, and stars Gerard

Butler, Gary Oldman and Common, among others. The Motion Picture has significant value and has

been created and produced at considerable expense.

       3.      This Court has jurisdiction under 17 U.S.C. §101 et seq.; 28 U.S.C. §1331 (federal

question); and 28 U.S.C. §1338(a) (copyright).

       4.      The acquisition, copying and transfer of the Motion Picture is accomplished using

a network called a “BitTorrent protocol” or “torrent,” which is different than the standard Peer-

to-Peer (“P2P”) protocol. The BitTorrent protocol makes even small computers with low

bandwidth capable of participating in large data transfers across a P2P network. The initial file-
       Case: 1:19-cv-02927 Document #: 1 Filed: 05/01/19 Page 2 of 8 PageID #:2



provider intentionally elects to share a file with a torrent network. This initial file is called a

seed. Other users (“peers”) and the network, through a series of steps, connect to the seed file

to download a movie. As additional peers request the same file, each additional user becomes

a part of the network from which the file can be downloaded. Each new file downloader receives

a different piece of the data from each user who has already downloaded the file that together

comprises the whole. This piecemeal system with multiple pieces of data coming from peer

members is usually referred to as a “swarm.” The effect of this technology makes every

downloader also an uploader of the illegally transferred file(s). This means that every “node” or

peer user who has a copy of the infringing copyrighted material on a torrent network

intentionally also becomes a source of download for that infringing file.

       5.      This distributed and cooperative nature of BitTorrent leads to a rapid viral spreading

of a file throughout peer users. As more peers join the swarm, the speed of transfer and likelihood

of a successful download increases. Because of the nature of a BitTorrent protocol, any seed peer

who has downloaded a file prior to the time a subsequent peer downloads the same file is

automatically a source for the subsequent peer so long as that first seed peer is online at the time the

subsequent peer downloads a file. Essentially, because of the nature of the swarm downloads as

described above, every infringer is stealing copyrighted material from many Internet Service

Providers (“ISPs”) in numerous jurisdictions.

       6.      Personal jurisdiction in this District is proper because each Defendant, without consent

or permission of Plaintiff as exclusive rights owner, within Illinois and within this District,

reproduced, distributed and offered to distribute among other Defendants over the Internet the

copyrighted Motion Picture for which Plaintiff has exclusive rights. Plaintiff has used geolocation

technology to trace the Internet Protocol (“IP”) address of each Defendant to a point of origin

within this District. Each Defendant has an IP address based in this District and resides in or

                                                   2
       Case: 1:19-cv-02927 Document #: 1 Filed: 05/01/19 Page 3 of 8 PageID #:3



committed copyright infringement in this District.

       7.      In the alternative, this Court has personal jurisdiction over non-resident Defendants,

if any, under the Illinois long-arm statute, 735 ILCS 5/2-209(a)(2), because they downloaded

copyrighted content from or uploaded it to Illinois residents located in this District, thus committing

a tortious act within the meaning of the statute.

       8.      Venue in this District is proper under 28 U.S.C. §1391(b) and/or 28 U.S.C. §1400(a).

Although the true identity of each Defendant is unknown to Plaintiff at this time, Defendants

reside in this District, may be found in this District and/or a substantial part of the acts of

infringement complained of herein occurred in this District. In the alternative, a Defendant

resides in this District and all of the Defendants reside in this State.

                                          THE PARTIES

       9.      Plaintiff is a motion picture developer and producer. Plaintiff brings this action

to stop Defendants from copying and distributing unauthorized copies of Plaintiff’s copyrighted

Motion Picture to others over the Internet. Defendants’ infringements allow them and others

unlawfully to obtain and distribute for free unauthorized copyrighted works that Plaintiff spends

considerable sums to create, acquire and/or distribute.        Each time a Defendant unlawfully

distributes a free copy of Plaintiff’s copyrighted Motion Picture to others over the Internet, each

person who copies the Motion Picture then distributes the unlawful copy to others without any

significant degradation in sound and picture quality. Thus, a Defendant’s distribution of even one

unlawful copy of a motion picture can result in the nearly instantaneous worldwide distribution

of that single copy to a limitless number of people. Plaintiff now seeks redress for this rampant

infringement of its exclusive rights.

       10.     Plaintiff is the owner of the copyright and/or the pertinent exclusive rights under

copyright in the United States in the Motion Picture that has been unlawfully distributed over the

                                                    3
       Case: 1:19-cv-02927 Document #: 1 Filed: 05/01/19 Page 4 of 8 PageID #:4



Internet by Defendants.

       11.     The true names of Defendants are unknown to Plaintiff at this time.              Each

Defendant is known to Plaintiff only by the Internet Protocol (“IP”) address assigned to that

Defendant by his or her Internet Service Provider and the date and the time at which the infringing

activity of each Defendant was observed. Plaintiff believes that information obtained in discovery

will lead to the identification of each Defendant’s true name and will permit Plaintiff to amend this

Complaint to state the same. Plaintiff further believes that additional information obtained will lead

to the identification of additional infringing parties, as monitoring of online infringement of

Plaintiff’s motion picture is ongoing.

                                        COUNT I
                                 COPYRIGHT INFRINGEMENT

       12.     At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, for the copyrighted Motion Picture, including

derivative works. The Motion Picture is the subject of a valid Certificate of Copyright Registration

(Registration No. PA 2-147-752) issued by the Register of Copyrights on October 29, 2018.

(Exhibit A).

       13.     The copyrighted Motion Picture includes a copyright notice advising the viewer that the

Motion Picture is protected by the Copyright Laws.

       14.     Each Defendant, without the permission or consent of Plaintiff, has used, and continues

to use, an online media distribution system to reproduce and distribute to the public, including by

making available for distribution to others, the copyrighted Motion Picture. Plaintiff has identified

each Defendant by the IP address assigned to that Defendant by his or her ISP and the date and the

time at which the infringing activity of each Defendant was observed (Exhibit B). Each Defendant

has violated Plaintiff’s exclusive rights of reproduction and distribution. Each Defendant’s actions


                                                   4
        Case: 1:19-cv-02927 Document #: 1 Filed: 05/01/19 Page 5 of 8 PageID #:5



constitute infringement of Plaintiff’s exclusive rights protected under the Copyright Act (17 U.S.C.

§101 et seq.).

        15.      Each Defendant deliberately participated in a swarm and/or reproduced and/or

distributed the same seed file of Plaintiff’s copyrighted Motion Picture in digital form with other

Defendants. In particular, Defendants participated in a collective and interdependent manner with

other Defendants via the Internet for the unlawful purpose of reproducing, exchanging and

distributing copyrighted material unique to the swarm.

        16.      By participating in the same swarm, each Defendant participated in the same

transaction, occurrence or series of transactions or occurrences as the other Defendants in the swarm.

The foregoing acts of infringement constitute a collective enterprise of shared, overlapping facts and

have been willful, intentional, and in disregard of and with indifference to the rights of Plaintiff.

        17.      As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

copyright, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to its attorneys’ fees and costs

pursuant to 17 U.S.C. §505.

        18.      The conduct of each Defendant is causing and, unless enjoined and restrained by this

Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be compensated

or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. §§502 and

503, Plaintiff is entitled to injunctive relief prohibiting each Defendant from further infringing

Plaintiff’s copyright and ordering that each Defendant destroy all copies of the copyrighted Motion

Picture made in violation of Plaintiff’s copyright.

                                         PRAYER FOR RELIEF

    WHEREFORE, Plaintiff prays for judgment against each Defendant and relief as follows:

        1.       For entry of a permanent injunction providing that each Defendant shall be enjoined

from directly or indirectly infringing Plaintiff’s rights in the copyrighted Motion Picture, including

                                                    5
        Case: 1:19-cv-02927 Document #: 1 Filed: 05/01/19 Page 6 of 8 PageID #:6



without limitation by using the Internet to reproduce or copy Plaintiff’s Motion Picture, to distribute

Plaintiff’s Motion Picture, or to make Plaintiff’s Motion Picture available for distribution to the

public, except pursuant to a lawful license or with the express authority of Plaintiff. Each

Defendant also shall destroy all copies of Plaintiff’s Motion Picture that Defendant has

downloaded onto any computer hard drive or server without Plaintiff’s authorization and (subject

to the Order of Impoundment prayed for below) shall serve up all copies of the downloaded Motion

Picture transferred onto any physical medium or device in each Defendant’s possession, custody or

control.

        2.     For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in its copyright pursuant to 17 U.S.C. §501; and b) otherwise injured the

business reputation and business of Plaintiff by Defendants’ acts and conduct set forth in this

Complaint.

        3.     For Judgment in favor of Plaintiff against Defendants for actual damages or

statutory damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be

determined at trial.

        4.     For an Order of Impoundment under 17 U.S.C. §§503 and 509(a) impounding all

infringing copies of Plaintiff’s Motion Picture which are in Defendants’ possession or under their

control.

        5.     For Judgment in favor of Plaintiff and against Defendants awarding Plaintiff

attorneys’ fees, litigation expenses (including fees and costs of expert witnesses) and other costs of

this action.

        6.     For Judgment in favor of Plaintiff against Defendants, awarding Plaintiff such

further declaratory and injunctive relief as may be just and proper under the circumstances.



                                                   6
     Case: 1:19-cv-02927 Document #: 1 Filed: 05/01/19 Page 7 of 8 PageID #:7



                                     JURY DEMAND

     Plaintiff demands trial by jury on all issues so triable.


DATED: May 1, 2019                        Respectfully submitted,

                                          HUNTER KILLER PRODUCTIONS, INC.



                                          By:        s/ Michael A. Hierl           ___
                                                    Michael A. Hierl (Bar No. 3128021)
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                                                7
       Case: 1:19-cv-02927 Document #: 1 Filed: 05/01/19 Page 8 of 8 PageID #:8



                                 CERTIFICATE OF FILING

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Complaint for Copyright Infringement was filed electronically with the Clerk of the Court and
served on all counsel of record and interested parties via the CM/ECF system on May 1, 2019.


                                                      s/Michael A. Hierl




                                                8
